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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

              Plaintiff,
                                                  Case No.23-20062-6
 v.
                                                  HONORABLE MARK A. GOLDSMITH
 MARY SMELTER BOLTON,

              Defendant.

                                              /


                           ORDER FOR LUNCHEON FOR JURORS



       IT IS ORDERED that the twelve (12) deliberating jurors in the above case, be

 furnished their luncheon at the expense of the United States.




                             s/Mark A. Goldsmith
                             Mark A. Goldsmith
                             United States District Court Judge

 Dated: November 22, 2024
